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 3   Telephone: (916) 804-8656
 4   Attorney for Defendant
     Andrew Sims
 5
 6                     IN THE UNITED STATES DISTRICT COURT
 7                    FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9
10   UNITED STATES OF AMERICA,    )         NO. CR. S.07-437 WBS
                                  )
11                 Plaintiff,     )
                                  )         Stipulation to Continue Status
12        v.                      )         Conference & Proposed Order
                                  )
13   ANDREW SIMS                  )         Date: January 22, 2008
                                  )         Time: 8:30 a.m.
14                 Defendant.     )         Court: Hon. William B. Shubb
                                  )
15   ____________________________ )
16
17       Defendant, Andrew Sims, by and through his undersigned counsel
18 and   the United States, by and through Assistant United States
19 Attorney Michael Beckwith, hereby agree and stipulate that the status
20 conference previously scheduled for December 3, 2007 should be re-set
21 to January 22, 2008 at 8:30 a.m., and that date is available with the
22 Court.
23       The parties agree that the status conference should be continued
24 to allow counsel sufficient time to investigate, prepare and continue
25 negotiations.
26
27       ///
28       ///
          Case 2:07-cr-00437-WBS Document 35 Filed 12/06/07 Page 2 of 2


 1   Time should be excluded for preparation of counsel under 18 U.S.C.
 2   § 3161(H)(8)(b)and pursuant to local code T4.
 3
 4
 5                                   Respectfully submitted,
 6                                   /s/ Shari Rusk
     Dated: November 30, 2007        Shari Rusk
 7                                   Attorney for Defendant
                                     Andrew Sims
 8
 9
10
11                                         /s/ Mike Beckwith
     Dated: November 30, 2007              Michael Beckwith
12                                         Assistant United States Attorney
13
14
                               ORDER
15
     IT IS SO ORDERED.
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     Dated:   December 5, 2007
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